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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6
                                        AT TACOMA
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      DINO CONSTANCE,
 8                                                 No. C15-5426 RBL-KLS
                                  Petitioner,
 9           v.                                    ORDER ADOPTING REPORT AND
10                                                 RECOMMENDATION
      DONALD HOLBROOK,
11
                                  Respondent.
12
            The Court, having reviewed Petitioner’s motion to withdraw claim and motions to stay,
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14   Respondent’s response, the Report and Recommendation of Magistrate Judge Karen L.

15   Strombom, objections to the Report and Recommendation, if any, and the remaining record, does

16   hereby find and ORDER:
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            (1)    The Court adopts the Report and Recommendation.
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            (2)    Petitioner’s motion to withdraw Claim 9 (Dkt. 20) is GRANTED; Petitioner’s
19                 motions to stay (Dkts. 14 and 21) are DENIED.

20          (3)    Petitioner is GRANTED a sixty day extension of time to file his reply;
                   Petitioner’s reply shall be filed on or before November 16, 2015.
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22          (4)    The Clerk shall renote the habeas petition for consideration on November 20,
                   2015.
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     ORDER ADOPTING REPORT AND RECOMMENDATION - 1
 1       (5)   This case is re-referred to Hon. Karen L. Strombom for further proceedings.

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         DATED this 19th day of October, 2015.
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                                                   A
                                                   Ronald B. Leighton
                                                   United States District Judge
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     ORDER ADOPTING REPORT AND RECOMMENDATION - 2
